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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                     Court File No. 15-cr-165 (JRT/LIB) (36)

                 Plaintiff,

v.                                                            REPORT AND RECOMMENDATION

Doeron Earl Rayford,

                 Defendant.


        This matter comes before the undersigned United States Magistrate Judge pursuant to a

general assignment, made in accordance with the provisions of Title 28 U.S.C. § 636(b)(1)(A),

upon Defendant Doeron Earl Rayford’s (“Defendant”) Motion to Suppress Evidence Obtained

by Search and Seizure, [Docket No. 403]. The Court held a motions hearing on October 20,

2015, regarding the parties’ pretrial motions. 1 The parties requested an opportunity to submit

supplemental briefing which was completed and the motion to suppress then taken under

advisement on November 15, 2015.

        For reasons discussed herein, the Court recommends that Defendant’s Motion to

Suppress Evidence Obtained by Search and Seizure, [Docket No. 403], be DENIED.

I.      BACKGROUND

        Defendant       is    charged    with     one    count     of conspiracy to           distribute heroin,

methamphetamine, oxycodone, hydromorphone, hydrocodone, and methadone in violation of 21

U.S.C. § 841(a)(1). (Indictment [Docket No. 1]).

        The record presently before the Court indicates that, beginning in early March 2015, law

enforcement obtained multiple Title III wire and electronic communication intercept warrants for

1
 The Court addressed the parties’ pretrial motions for discovery and production of evidence by separate order.
[Docket No. 987].
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various telephone numbers belonging to Omar Beasley (“Beasley”), a co-defendant in the

present case. (Gov’t Ex. 9, at 8). Several of the intercepted telephone calls were between Beasley

and the present Defendant. (Id. at 17).

          In March 2015, law enforcement agents intercepted telephone calls the contents of which,

through the affiant’s training and experience, indicated that Defendant was obtaining quantities

of heroin and selling it to Beasley and others. (Id.). Based upon the information in the those calls,

on March 6, 2015, agents obtained a search warrant for cellular site location data for Defendant’s

telephone for a period of thirty days. (Id. at 18). On April 14, 2015, and April 15, 2015, agents

interviewed confidential informant “CS2” who told agents that Defendant had obtained heroin

from unknown sources in Chicago, Illinois, and he transported the heroin to Minneapolis,

Minnesota for distribution. (Id. at 19–20). CS2 also told law enforcement where Defendant

resided when Defendant was in Minnesota. (Id. at 20).

          On May 22, 2015, Special Agent Travis Ocken applied for a warrant to search the real

property and premises known as 516 Hazel Street North, St. Paul, Minnesota, and all associated

garages and storage areas (“Rayford Residence”). 2 (Id. at 1). The Honorable Jeffrey J. Keyes,

United States Magistrate Judge for the District of Minnesota, determined that probable cause

supported the issuance of the search warrant. (Id. at 23). Special Agent Ocken and other law

enforcement officers executed the warrant to search the Rayford residence on May 27, 2015. (Id.

at 24).




2
  This residence is the home of Defendant’s girlfriend where Defendant is reported to have stayed when he was in
Minnesota. To remain consistent with the documents in the record, this Report and Recommendation will continue
to refer to it as the Rayford Residence.

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II.    DEFENDANT’S MOTION TO SUPPRESS EVIDENCE OBTAINED BY SEARCH
       AND SEIZURE [Docket No. 403]

       Defendant moves the Court to suppress all evidence gathered as a result of the execution

of the May 22, 2015, warrant to search the Rayford residence at 516 Hazel Street North, St. Paul,

Minnesota. In his memorandum, Defendant challenges the probable cause supporting the search

warrant arguing that the affidavit relied substantially on CS2 who, Defendant argues, is an

unreliable confidential informant, and that the information contained in Special Agent Ocken’s

affidavit in support of the search warrant failed to establish a nexus between Defendant and the

residence at 516 Hazel Street North. (Def.’s Mem. of Law in Support of Def. Doeron Earl

Rayford’s Mot. to Suppress Search and Seizure, (“Def.’s Mem. in Support”) [Docket No. 955],

at 1, 5). The Government asserts that probable cause existed to support the search warrant, and

that in any event, the officers relied on the warrant in “good faith.”

       A. Standard of Review

       The Fourth Amendment guarantees the “right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures,” and that “no warrants

shall issue, but upon probable cause, supported by Oath or affirmation.” U.S. Const. Amend. IV.

The Eighth Circuit has held that “[a]n affidavit establishes probable cause for a warrant if it sets

forth sufficient facts to establish that there is a fair probability that contraband or evidence of

criminal activity will be found in the particular place to be searched.” United States v.

Mutschelknaus, 592 F.3d 826, 828 (8th Cir. 2010) (internal quotation marks and citation

omitted). “Probable cause is a fluid concept that focuses on ‘the factual and practical

considerations of everyday life on which reasonable and prudent men, not legal technicians,

act.’” United States v. Colbert, 605 F.3d 573, 576 (8th Cir. 2010) (quoting Illinois v. Gates, 462

U.S. 213, 231 (1983)). Courts use a “totality of the circumstances test . . . to determine whether


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probable cause exists.” United States v. Hager, 710 F.3d 830, 836 (8th Cir. 2013) (citation

omitted).

       The sufficiency of a search warrant affidavit is examined using “common sense and not a

hypertechnical approach.” United States v. Grant, 490 F.3d 627, 632 (8th Cir. 2007) (citation and

internal quotations omitted). “In ruling on a motion to suppress, probable cause is determined

based on ‘the information before the issuing judicial officer.’” United States v. Smith, 581 F.3d

692, 694 (8th Cir. 2009) (quoting United States v. Reivich, 793 F.2d 957, 959 (8th Cir. 1986)).

“Therefore, ‘[w]hen the [issuing judge] relied solely upon the supporting affidavit to issue the

warrant, only that information which is found in the four corners of the affidavit may be

considered in determining the existence of probable cause.’” United States v. Wiley, No. 09-cr-

239 (JRT/FLN), 2009 WL 5033956, at *2 (D. Minn. Dec. 15, 2009) (Tunheim, J.) (quoting

United States v. Solomon, 432 F.3d 824, 827 (8th Cir. 2005); edits in Wiley). In addition, the

issuing court’s “‘determination of probable cause should be paid great deference by reviewing

courts[.]’” Gates, 462 U.S. at 236 (quoting Spinelli v. United States, 393 U.S. 410, 419 (1969)).

“[T]he duty of a reviewing court is simply to ensure that the [issuing court] had a ‘substantial

basis for . . . [concluding]’ that probable cause existed.” Id. at 238–39 (quoting Jones v. United

States, 362 U.S. 257, 271 (1960)).

       B. Analysis

                 1. Reliability of CS2

       The affidavit supporting the May 22, 2015, search warrant contains statements attributed

to CS2 that Defendant had obtained heroin from sources in Chicago, Illinois, and he transported

it to the Minneapolis, Minnesota, area for distribution. (Gov’t Ex. 9, at 19–20). CS2 further

informed law enforcement that Defendant had provided co-defendant Beasley with 700 grams of



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heroin during the past year, including 200 grams as recently as April 13, 2015. (Id. at 20). CS2

also told law enforcement that based on recent conversations with Defendant, he thought

Defendant was going to be bringing one kilogram of cocaine and 300 grams of heroin from

Chicago, Illinois, to the Minneapolis area on April 15, 2015. (Id. at 20). CS2 further stated that

Defendant typically drove a silver Dodge Journey, which CS2 believed had a aftermarket

concealed compartment, to transport drugs from Chicago, Illinois, to Minnesota. (Id.). Lastly,

CS2 told law enforcement that while in Minnesota, Defendant stays with his girlfriend who lives

in St. Paul at 516 Hazel Street North. (Id.).

       “The reliability of a confidential informant can be established if the person has a history

of providing law enforcement officials with truthful information.” United States v. Wright, 145

F.3d 972, 975 (8th Cir. 1998) (internal citations omitted). In addition, “[i]f information from an

informant is shown to be reliable because of independent corroboration, then it is a permissible

inference that the informant is reliable and that therefore other information that the informant

provides, though uncorroborated, is also reliable.” United States v. Williams, 10 F.3d 590, 593–

94 (8th Cir. 1993) (citations omitted).

       Special Agent Ocken’s affidavit in support of the May 22, 2015, search warrant explicitly

states that CS2 had provided information that had been independently verified through the then

ongoing investigation. (Gov’t Ex. 9, at 7–8). Some of the information which was independently

verified includes names, addresses, and telephone numbers. (Id.). Law enforcement also

observed Defendant travelling west across Wisconsin in a car matching the description CS2

asserted Defendant would be driving, i.e. a silver Dodge Journey; and at the time CS2 said

Defendant would be travelling from Detroit, Michigan to the Minneapolis, Minnesota area. (See

Id. at 20). The affidavit further states that CS2 had been identified as a leader within the Beasley



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Drug Trafficking Organization with intimate knowledge of the organization and its members.

(Gov’t Ex. 9, at 8). Under the totality of the circumstances, given the extent of the independent

verification, this information adequately established CS2’s reliability in the present case. Wright,

145 F.3d at 975; Williams, 10 F.3d at 593–94.

        Defendant contends that CS2 cannot be considered reliable because he was the ring

leader who led, organized, and managed the drug trafficking organization. (Def.’s Mem. in

Support, [Docket No. 955], at 1). 3 The Court disagrees.

        Defendant’s argument revolves around the idea that CS2 was presumably attempting to

“curry favor” with law enforcement, and that at least one segment of information CS2 gave to

law enforcement was found not to be accurate. (Id. at 4). Specifically, Defendant points to CS2’s

assertion that Defendant, on April 15, 2015, would be travelling from Detroit to Minnesota with

one kilogram of cocaine and 300 grams of heroin. (Id.). Based on this information, agents

established surveillance along Interstate 94 and located Defendant travelling west in Wisconsin

near the Minnesota border. (Gov’t Ex. 9, at 20–21). Defendant’s vehicle was stopped inside the

Minnesota border pursuant to a traffic stop, and a K-9 unit drug dog then present alerted on the

vehicle indicating the possible presence of drugs. (See Id. at 20–21). The vehicle was

impounded, and a search warrant for the vehicle was obtained; however, after a search of the

vehicle was then performed, no drugs were found. (Id. at 21). Defendant argues that this singular

piece of CS2 misinformation calls into question CS2’s veracity and basis of knowledge to such

an extent that it makes CS2 entirely unreliable for the purposes of a probable cause




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  The affidavit submitted in support of the search warrant describes CS2 as a leader in the Beasley Drug Trafficking
Organization, but nowhere in the affidavit is CS2 identified as Omar Beasley. However, in the supplemental briefing
on the motion now before the Court, CS2 was identified as Omar Beasley, who is indeed one the principals of the
alleged conspiracy resulting in Defendant’s indictment.

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determination by Unites States Magistrate Judge Keyes. (Def. Mem. in Support, [Docket No.

955], at 4–5).

       However, Defendant’s conclusion focuses only on a single part of and disregards all other

information CS2 provided that was found to be reliable. Agents had previously verified some

information provided by CS2 including names, addresses, and phone numbers he provided.

(Gov’t Ex. 9, at 7–8). Defendant was independently heard in intercepted telephone calls with co-

defendant Beasley discussing what agents believed was the obtaining and selling of heroin. (Id.

at 17–18). Agents also observed Defendant travelling west across Wisconsin in the car CS2

asserted Defendant would be driving (a Dodge Journey), at the time CS2 asserted Defendant

would be travelling from Detroit, Michigan to the Minneapolis, Minnesota area. (See Id. at 20).

And based on the K-9 alert when exposed to this vehicle during a traffic stop, there was some

corroborative information that drugs may have been present in the vehicle at one time. (See Id. at

20–21). The information provided by CS2 was also corroborated in that 516 Hazel Street North

was the residence of Defendant’s girlfriend. (See Id. 20).

       Reliability of information provided by an informant is assessed under the “totality of the

circumstances” made known to the Magistrate Judge issuing the warrant. Illinois v. Gates, 462

U.S. 213, 238 (1983). “If information from an informant is shown to be reliable because of

independent corroboration, then it is a permissible inference that the informant is reliable and

that therefore other information that the informant provides, though uncorroborated, is also

reliable.” Williams, 10 F.3d at 593–94. The Eighth Circuit has long recognized that even “the

corroboration of minor, innocent details can suffice to establish probable cause.” United States v.

Ramos, 818 F.2d 1392, 1397 n. 7 (8th Cir. 1987); see e.g. United States v. Tyler, 238 F.3d 1036,

1039 (8th Cir. 2001). Moreover, where information provided by an informant is at least partially



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corroborated, it has been consistently established that attacks upon credibility and reliability are

not crucial to the finding of probable cause. United States v. Humphreys, 982 F2d. 254, 259 (8th

Cir. 1992); see United States v. Aron, No. Crim. 15-1 MJD/TNL, 2015 WL 2454060, at *4 (D.

Minn. May 22, 2015). The law does not require that every statement made by a confidential

informant be supported by corroborating evidence. See e.g. Unites States v. Butler, 594 F.3d

955, 962–63 (8th Cir. 2010). This approach supports the totality of the circumstances standard

applicable to establishing probable cause in a search warrant application. See in accord United

States v. Reeves, 210 F.3d 1041 (9th Cir. 2000) (reasoning that if a confidential informant’s

criminal history involving dishonesty was left out of the search warrant application, but the

search warrant application was still supported by probable cause even if the criminal history had

been known, suppression is not appropriate).

       In addition to bolstering reliability by corroboration, the Eighth Circuit has also

recognized that “[s]tatments against the penal interest of an informant typically carry

considerable weight” in establishing reliability. Tyler, 238 F.3d at 1039 (quotation omitted). This

recognition is developed from the Supreme Court’s reasoning in Harris that, “[p]eople do not

lightly admit a crime and place critical evidence in the hands of the police in the form of their

own admissions. Admissions of crime, like admissions against proprietary interest, carry their

own indicia of credibility—sufficient at least to support a finding of probable cause to search.”

Unites States v. Harris, 403 U.S. 573, 583 (1971). The Supreme Court further asserted that the

fact “[t]hat the informant may be paid or promised a ‘break’ does not eliminate the residual risk

and opprobrium of having admitted to criminal conduct.” Id. at 583–584; see e.g. Tyler, 238 F.3d

at 1039. As a leader among the Beasley Drug Trafficking Organization, the confidential

informant CS2, by providing information about Defendant’s activities that related to the



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advancement of the criminal enterprise of which CS2 was a part, was acting against his own

penal interest, and thus, permitted an inference of CS2’s reliability on the part of the Magistrate

Judge who issued the search warrant in this case.

       Based on the foregoing, United States Magistrate Judge Jeffrey J. Keyes had a substantial

basis under the totality of the circumstances upon which to conclude that CS2 was a reliable

informant whose asserted information could assist in establishing probable cause.

                 2. Nexus to the Residence at 516 Hazel Street North

       Defendant also contends that the information in Special Agent Ocken’s affidavit

supporting the application for the May 22, 2015, search warrant contained no facts to establish

that drugs would be found at the 516 Hazel Street North residence. (Def.’s Memo. in Support,

[Docket No. 955], at 5). Defendant asserts that no suspicious activity was observed at the

residence and no controlled buys were made from the residence. Defendant, therefore, concludes

that there are no facts connecting the Defendant to criminal activity at the residence. (Id.).

       “[T]here must be evidence of a nexus between the contraband and the place to be

searched before a warrant may properly issue[.]” United States v. Tellez, 217 F.3d 547, 550 (8th

Cir. 2000) (citing United States v. Koelling, 992 F.2d 817, 823 (8th Cir. 1993)).

       In his affidavit supporting the application for the search warrant, Special Agent Ocken

stated that cell site data for Defendant showed Defendant in the area of 516 Hazel Street North

residence when Defendant participated in an intercepted telephone call with co-defendant

Beasley. (Gov’t Ex. 9, at 19). Specifically, Beasley asked Defendant, “[W]hat you doin’ you got

some kills?” (Id.). Defendant responded by stating “[Y]ep what left.” (Id.). Defendant further

stated that “. . . I got like, probably like seventy-five (75) left or something.” (Id.). Special Agent

Ocken stated that he believed, given his training and experience, Beasley was attempting to



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purchase a quantity of heroin from Defendant and Defendant indicated he had 75 grams of

heroin. (Id.). Later that same day agents observed Defendant on the front steps of 516 Hazel

Street North. (Id.).

        In addition to the intercepted telephone call, agents were also informed by CS2 that

Defendant stayed with his girlfriend, who lives in St. Paul, Minnesota, when Defendant was in

the Minnesota. (Id. at 20). Based on that information, law enforcement conducted a search of

law enforcement indices for 516 Hazel Street North, St. Paul, Minnesota, the residence, they

believed, was used by Defendant when he was in Minnesota. (Id.). The search indicated that

Felicia Woodard had contacted law enforcement a couple weeks prior to the search and reported

an incident at the residence. (Id.). Law enforcement then conduct a search of the Minnesota

Driver and Vehicle Services database which revealed that Felicia Woodard owned a silver

Dodge Journey with Minnesota registration number 153NEV. (Id.). CS2 had previously

informed law enforcement that Defendant drove a silver Dodge Journey in his travels from

Detroit, Michigan, to the Minneapolis, Minnesota area. (Id. at 20).

        The mere fact that neither CS2 nor the investigating officers directly observed contraband

or criminal activity at the 516 Hazel Street North residence does not prevent a finding that there

was a nexus between Defendant’s criminal activities as described by Special Agent Ocken in his

affidavits and the residence. A judge deciding whether to issue a search warrant is allowed to

make reasonable inferences as to where contraband may be found. United States v. Summage,

481 F.3d 1075, 1078 (8th Cir. 2007) (citing United States v. Thompson, 210 F.3d 855, 860 (8th

Cir. 2000)). Indeed, there have been several cases in which the Eighth Circuit has upheld a

finding that there was sufficient probable cause to search a defendant’s home even though the




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only direct evidence of a suspect’s narcotics trafficking was discovered elsewhere. See, e.g.,

Tellez, 217 F.3d 550.

       Specifically, the Eighth Circuit has held that probable cause exists to search the home of

a drug dealer in cases in which a supporting affidavit describes a defendant’s ongoing drug

trafficking activity and also contains a statement by the drafting officer indicating that, in the

drafting officer’s experience, it is reasonable to infer that evidence of ongoing drug trafficking

activities may be found in the home of a drug dealer. United States v. Keele, 589 F.3d 940, 943–

44 (8th Cir. 2009); United States v. Luloff, 15 F.3d 763, 768 (8th Cir. 1994). Other circuits have

come to similar positions. See United States v. Ross, 487 F.3d 1120, 1123 (8th Cir. 2007) (citing

United States v. Wiley, 475 F.3d 908, 912–13 (7th Cir. 2007); United States v. McClellan, 165

F.3d 535, 546 (7th Cir. 1999) (noting that a magistrate may reasonably infer that evidence is

likely to be found where drug dealers live); United States v. Feliz, 182 F.3d 82, 88 (1st Cir.

1999) (stating that it could reasonably be supposed that a drug dealer stored evidence of dealing

at his home, though no drug trafficking was observed to occur there); United States v. Thomas,

989 F.2d 1252, 1254–55 (D.C. Cir. 1993) (per curiam) (observations of drug trafficking

occurring away from dealer's residence can support a finding of probable cause for a search of

the dealer’s home); United States v. Angulo–Lopez, 791 F.2d 1394, 1399 (9th Cir. 1986) (stating

that a magistrate may reasonably infer that evidence is likely found where drug dealers live);

United States v. Hodge, 246 F.3d 301, 306 (3rd Cir.2001) (finding it reasonable to search an

experienced and repeat dealer's home)).

       Notably, in line with the foregoing cases, Special Agent Ocken’s affidavit in support of

his application for a search warrant does include a statement indicating that, in his training and




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experience, drug dealers often keep records or other evidence of drug transactions in their homes.

(Gov’t Ex. 9, at 2, 3). 4

         The Court concludes that the statements in Special Agent Ocken’s affidavit in support of

his application for a search warrant to search the 516 Hazel Street North residence provided

United States Magistrate Judge Jeffrey J. Keyes with a substantial basis to conclude there was a

reasonable probability that probable cause existed that evidence of a crime could be found at 516

Hazel Street North, St. Paul, Minnesota.

         However, assuming arguendo that the Court were to find that probable cause did not in

fact exist to believe that evidence of contraband could be found at the 516 Hazel Street North

residence, the Court concludes that Defendant’s Motion to Suppress Evidence Obtained By

Search and Seizure should still be denied under the “good faith” exception set forth in United

States v. Leon, 465 U.S. 897 (1984).

         “Under the Leon good-faith exception, disputed evidence will be admitted if it was

objectively reasonable for the officer executing a search warrant to have relied in good faith on

the judge’s determination that there was probable cause to issue the warrant.” Grant, 490 F.3d at

632 (citing Leon, 468 U.S. at 922). On the totality of the present record as described throughout

this Report and Recommendation, law enforcement does appear to have relied in good-faith on

the warrant ultimately issued by United States Magistrate Judge Keyes to search the residence,

and therefore, this militates against suppressing any evidence obtained during the search of 516

Hazel Street North. See, Leon, 468 U.S. at 919–921 (exclusionary rule does not apply “when an

officer acting with objective good faith has obtained a search warrant from a judge or magistrate


4
 This would be consistent in the present case with the cell phone intercepts of co-defendant Beasley’s telephone call
with Defendant wherein they discussed what agents believe to be drug transactions based on their training and
experience while Defendant was in the vicinity of the St. Paul home at issue and observed to actually be on the steps
of that same residence later the same day.

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and acted within its scope”). See also, United States v. Johnson, 219 F.3d 790, 791 (8th Cir.

2000) (“Even if we thought the warrant affidavit did not establish probable cause, the good faith

exception to the warrant requirement would apply because the affidavit was sufficient to allow

an officer to reasonably believe probable cause existed.”).

             The Court’s careful review of Special Agent Ocken’s affidavit in support of his

application for the search warrant indicates that he presented United States Magistrate Judge

Keyes with specific facts indicating that Defendant was supplying co-defendant Beasley with

heroin and that evidence of the contraband could be expected to be found at the 516 Hazel Street

North residence. Accordingly, when executing the search warrant for the 516 Hazel Street North

residence, Special Agent Ocken and the other officers involved therein relied in good faith on the

search warrant which had been issued by United States Magistrate Judge Keyes.

III.         CONCLUSION

             Based on the foregoing and all the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED that:

       1.    Defendant’s Motion to Suppress Evidence Obtained by Search and Seizure, [Docket No.

             403], be DENIED.




Dated: December2, 2015                                        s/Leo I. Brisbois
                                                              Leo I. Brisbois
                                                              U.S. MAGISTRATE JUDGE


                                            NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the District
Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

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Under Local Rule 72.2(b)(1), “A party may file and serve specific written objections to a
magistrate judge’s proposed findings and recommendation within 14 days after being served
with a copy of the recommended disposition[.]” A party may respond to those objections within
14 days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set forth in LR 72.2(c).

Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.




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